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                      EXHIBIT 1

                       BUDGET




                          20
Bittrex, Inc. and Other Debtor Entities
DIP Budget
$ in 000's

                                                                                                Post-Petition
Fiscal Week                                 Wk 1       Wk 2 Wk 3        Wk 4       Wk 5   Wk 6      Wk 7      Wk 8         Wk 9      Wk 10   Wk 11   Wk 12         Wk 13     Post-Pet.
Fiscal Month                               May-23 May-23 May-23        Jun-23     Jun-23 Jun-23 Jun-23        Jul-23      Jul-23     Jul-23  Jul-23  Jul-23        Aug-23     13Wk
Week Ending                                5/14/23 5/21/23 5/28/23     6/4/23    6/11/23 6/18/23 6/25/23 7/2/23           7/9/23    7/16/23 7/23/23 7/30/23        8/6/23      Total
Fcst / Actual                                Proj      Proj  Proj       Proj       Proj    Proj     Proj       Proj        Proj       Proj    Proj    Proj          Proj       Proj
                                          Post-Petition
I. Inflows
1.) Intercompany Receipts                       -       25     1,664       27       667      2,127        38     1,676       656     2,127         38     1,676      (179)    10,542
2.) Non-Operating Receipts                      -        -        98        -         -          -         -        98         -         -          -        98         -        295
3.)     Total Receipts                          -       25     1,762       27       667      2,127        38     1,774       656     2,127         38     1,774      (179)    10,837
                                                                                                                                                                                   Case 23-10597-BLS




II. Operating Disbursements
4.) Intercompany Disbursements                (25)   (1,664)    (27)     (667)    (2,127)      (38)   (1,676)     (656)   (2,127)       (38)   (1,676)      179      (863)    (11,405)
5.) Payroll, Taxes & Benefits                   -      (202)      -         -       (128)        -      (202)        -      (128)         -      (202)        -         -        (862)
6.) Rent / Leases / Occupancy                   -         -    (216)        -          -         -         -      (216)        -          -         -      (216)        -        (649)
7.) Software and Infrastructure                 -         -       -       (40)         -         -         -       (47)        -          -         -         -       (41)       (128)
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8.) Ordinary Course Professionals               -         -       -      (840)         -         -         -      (640)        -          -         -         -      (655)     (2,135)
9.) Other Operating Expenses                  (25)      (25)    (25)      (64)       (25)      (25)      (25)      (64)      (25)       (25)      (25)      (25)      (64)       (442)
10.) Total Operating Disbursements            (50)   (1,891)   (268)   (1,610)    (2,280)      (63)   (1,903)   (1,623)   (2,280)       (63)   (1,903)      (63)   (1,623)    (15,620)
III. Non-Operating Costs
11.) Restructuring Costs                        -         -        -     (288)       (50)        -         -         -      (481)    (1,554)        -         -      (635)     (3,007)
12.) Total Non-Operating Costs                  -         -        -     (288)       (50)        -         -         -      (481)    (1,554)        -         -      (635)     (3,007)
                                                                                                                                                                                   Filed 05/10/23




13.) Total Disbursements                      (50)   (1,891)   (268)   (1,899)    (2,330)      (63)   (1,903)   (1,623)   (2,761)    (1,616)   (1,903)      (63)   (2,258)    (18,628)
14.) Net Cash Flow                            (50)   (1,866)   1,494   (1,872)    (1,663)    2,065    (1,866)     151     (2,105)      511     (1,866)    1,712    (2,436)     (7,791)
IV. Financing
      Liquidity
                                                                                                                                                                                   Page 2 of 2




15.) Beginning Cash Balance                   542     7,492    5,626    7,120      5,248     3,584    18,649    16,783    16,935    14,830     15,341    13,475    15,187        542
16.) Net Cash Flow                            (50)   (1,866)   1,494   (1,872)    (1,663)    2,065    (1,866)      151    (2,105)      511     (1,866)    1,712    (2,436)    (7,791)
17.) DIP Draw / (Paydown)                   7,000         -        -        -          -    13,000         -         -         -         -          -         -         -     20,000
18.) Ending Cash Balance                    7,492     5,626    7,120    5,248      3,584    18,649    16,783    16,935    14,830    15,341     13,475    15,187    12,751     12,751
